            Case 15-31034         Doc 24      Filed 09/21/17 Entered 09/21/17 09:32:36                 Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                       Middle District of Georgia (Athens)
In re: Clara Ella Montgomery                                         Case No: 15-31034-JPS
                                                                     Chapter: 13
Last four digits of any number you use to identify the debtor’s account: 0837
Court Claim No. (if known): 1

                           STATEMENT IN RESPONSE TO NOTICE OF FINAL CURE PAYMENT
As contemplated by Fed. R. Bankr. Proc. 3002.1
CitiFinancial Servicing LLC
(“Creditor”) hereby responds to that certain Notice of Final Cure Payment (“Cure Notice”)
GDWHG   09/19/2017       DQGILOHGDV'RFNHW1R   23

                                                        Prepetition Default Payments                     Applicable option is checked

✔       $JUHHVWKDW'HEWRUVKDVSDLGLQIXOOWKHDPRXQWUHTXLUHGWRFXUHWKHGHIDXOWRQ&UHGLWRU¶VFODLP

        'LVDJUHHVWKDW'HEWRUVKDVSDLGLQIXOOWKHDPRXQWUHTXLUHGWRFXUHWKHGHIDXOWRQ&UHGLWRU¶VFODLPDQGVWDWHVWKDW
        WKHWRWDODPRXQWGXHWRFXUH3UHSHWLWLRQDUUHDUVLV
       Total Amount Due:
Attached as Schedule of Amounts Outstanding on Prepetition Claim is an itemized account of the Prepetition amounts
that remain unpaid as of the date of this statement.

                                                        Postpetition Default Payments                    Applicable option is checked

✔       $JUHHVWKDW'HEWRUVLVFXUUHQWZLWKUHVSHFWWRDOOSD\PHQWVFRQVLVWHQWZLWKERIWKH%DQNUXSWF\&RGH

        'LVDJUHHVWKDWWKH'HEWRUVLVFXUUHQWZLWKUHVSHFWWRDOOSD\PHQWVFRQVLVWHQWZLWKEDQGVWDWHVWKDWWKH
        WRWDODPRXQWGXHWRFXUH3RVWSHWLWLRQDUUHDUVLV
       Total Amount Due:
Attached as Schedule of Amounts Outstanding Postpetition Claim is an itemized account of the Postpetition amounts
that remain unpaid as of the date of the Cure Notice. The amounts outstanding identified on the Schedule do not reflect
amounts that became or may become due after the date of the Cure Notice, including any fees that may have been
incurred in the preparation, filing, or prosecution of this statement.


The amounts due identified on this statement may not, due to timing, reflect all payments sent to Creditor as of the date
of the Cure Notice. In addition, the amounts due may include payments reflected on the NDC but which have not yet
been received and/or processed by Creditor.

Date: 09/21/2017

                                                         Signature: /s/Jennifer Puckett
                                                              Title:Bankruptcy Specialist III
                                                         Company:   CitiFinancial, Inc.
                                                           Address: PO Box 6043
                                                                    Sioux Falls, SD 57117
                                                            Phone: 888-701-6280
                                                             Email: CitiBKAudit@citi.com

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                    UNITED STATES BANKRUPTCY COURT
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                      Schedule of Amounts Outstanding Prepetition Claim
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                      UNITED STATES BANKRUPTCY COURT

                        Schedule of Amounts Outstanding Postpetition Claim

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(Service Release - *Please note that the account listed above is no longer
serviced by Citifinancial servicing LLC, the new servicer is Carrington and the
loan was service released on 08/08/2017)
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                                                  Case No:       15-31034-JPS
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                               UNITED STATES BANKRUPTCY COURT
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                                                  Certificate of Service
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&KDSWHU7UXVWHH
                              Camille
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                                         Hope
7UXVWHH$GGUHVV             Office
                                      of the Chapter 13 Trustee
                             P.O.   Box  954
                              Macon,
                                        GA 31202
                                 
'HEWRU¶V&RXQVHO1DPH        Darrell
                                       L. Burrow
'HEWRU¶V&RXQVHO$GGUHVV Burrow       & Associates, LLC
                              2280
                                     Satellite Blvd.
                              Bldg.
                                      A, Suite 100

                               Duluth,
                                        GA 30097
'HEWRU1DPH                   
                              Clara    Ella Montgomery
'HEWRU1DPH                   
'HEWRU¶V0DLOLQJ$GGUHVV 1493    Mt Hebron Rd
                                 
                              Hartwell,    GA 30643
                                 
                                 
                                                      Signature: /s/Jennifer Puckett
                                                           Title:Bankruptcy Specialist III
                                                      Company:   CitiFinancial, Inc.
                                                        Address: PO Box 6043
                                                                 Sioux Falls, SD 57117
                                                         Phone: 888-701-6280
                                                          Email: CitiBKAudit@citi.com
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